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 13
 14                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 15
 16 DEMETRIOUS POLYCHRON, an                 Case No. 2:23-cv-02831-SVW (Ex)
    individual
 17                                          NOTICE OF MOTION AND
                         Plaintiff,          MOTION FOR ATTORNEYS’ FEES
 18                                          BY DEFENDANTS AMAZON
           vs.                               STUDIOS LLC, AMAZON
 19                                          CONTENT SERVICES LLC, THE
    JEFF BEZOS, an individual, JENNIFER      TOLKIEN ESTATE LIMITED, THE
 20 SALKE, an individual, SIMON              TOLKIEN TRUST, AND SIMON
    TOLKIEN, an individual, PATRICK          TOLKIEN
 21 MCKAY, an individual, JOHN D.
    PAYNE, an individual, AMAZON             Date:    October 16, 2023
 22 STUDIOS LLC, a California Limited        Time:    1:30 p.m.
    Liability Company, AMAZON                Dept.:   Courtroom 10A
 23 CONTENT SERVICES LLC, a Delaware
    Limited Liability Company, THE
 24 TOLKIEN ESTATE, THE TOLKIEN
    ESTATE LIMITED, THE TOLKIEN
 25 TRUST, and DOES 1-100
 26                        Defendants.
 27
 28


      MOTION FOR ATTORNEYS’ FEES
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  1                                NOTICE OF MOTION
  2 TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:
  3         PLEASE TAKE NOTICE that on October 16, 2023, at 1:30 p.m. or as soon
  4 as may be heard in Courtroom 10A of the United States District Court for the
  5 Central District of California, First Street Courthouse, 350 West First Street, Los
  6 Angeles, California 90012, defendants Amazon Studios LLC and Amazon Content
  7 Services LLC (the “Amazon Defendants”), and the Tolkien Estate Limited, the
  8 Tolkien Trust, and Simon Tolkien (the “Tolkien Defendants”) (collectively,
  9 “Defendants”), will and hereby do move this Court for an order awarding the
 10 Amazon Defendants $74,150 and the Tolkien Defendants $78,865 in attorneys’ fees
 11 in connection with their successful motions to dismiss the copyright claims brought
 12 by plaintiff Demetrious Polychron (“Plaintiff”).
 13         This motion is made pursuant to 17 U.S.C. § 505, which provides that the
 14 Court may award reasonable attorneys’ fees to a prevailing copyright defendant.
 15 All of the factors courts consider in evaluating copyright fee awards support
 16 Defendants’ request: (a) Defendants prevailed completely on the copyright claims;
 17 (b) Plaintiff’s copyright claims were objectively unreasonable; (c) certain of
 18 Plaintiff’s litigation decisions were not made for legitimate purposes under
 19 copyright law; and (d) a fee award would further the Copyright Act’s goals and
 20 deter meritless litigation. Moreover, the amount of Defendants’ fee request is
 21 reasonable, both in terms of defense counsel’s rates and the hours expended.
 22         This motion is based on the notice of motion, the memorandum of points and
 23 authorities, the declarations of Amanda Levine (“Levine Decl.”) and Lance Koonce
 24 (“Koonce Decl.”) with exhibits, and all other matters of which this Court may take
 25 judicial notice, the pleadings, files and records in this action, and on any argument
 26 heard by this Court.
 27         This motion is made following the conference of counsel pursuant to Local
 28 Rule 7-3 which took place on September 1, 2023.
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  1 DATED: September 8, 2023
  2                                         Respectfully submitted,
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  4                                         AMANDA LEVINE
                                            SAMUEL A. TURNER
  5
                                            By:   /s/ Nicolas A. Jampol
  6                                                   Nicolas A. Jampol
  7                                            Attorneys for the
                                               Amazon Defendants
  8
  9                                         KLARIS LAW
                                            LACY H. KOONCE, III
 10                                         GILI KAREV
 11                                         By:   /s/ Lacy H. Koonce, III
                                                     Lacy H. Koonce, III
 12
                                               Attorneys for the
 13                                            Tolkien Defendants
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 21 Hensley v. Eckerhart,
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  1 Kirtsaeng v. John Wiley & Sons,
  2    579 U.S. 197 (2016) ......................................................................................... 6, 7
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  6    two-trees/ (last visited Sept. 7, 2023) ................................................................ 11
  7 https://www.marketwatch.com/press-release/katie-charleston-law-to-
  8    represent-author-suing-bezos-tolkien-estate-over-lord-of-the-rings-tv-
       series-2023-05-23; https://www.digitaljournal.com/pr/news/marketers-
  9    media/katie-charleston-law-to-represent-author-suing-bezos-tolkien-
 10    estate-over-lord-of-the-rings-tv-series ..................................................................4
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  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2                                I.     INTRODUCTION
  3          Plaintiff Demetrious Polychron wrote and published an unauthorized—and
  4 infringing—novel that purported to be a sequel to J.R.R. Tolkien’s iconic book
  5 series, The Lord of the Rings. In so doing, he blatantly appropriated a wide array of
  6 Tolkien’s characters, plots, settings, and language. Even worse, he then filed this
  7 lawsuit, in which he contended that the Amazon original series The Lord of the
  8 Rings: Rings of Power (“Rings of Power”)—an authorized prequel to The Lord of
  9 the Rings—somehow infringed his infringing novel.
 10          The Court recognized that Plaintiff’s claims were meritless and dismissed
 11 them with prejudice before Defendants even filed their reply briefs. In so doing, the
 12 Court held both that Plaintiff’s work was an infringing derivative work that was not
 13 entitled to copyright protection and that the works were not “substantially similar”
 14 as a matter of law. See Dkt. 47 (“Order”) at 12, 14. Defendants now seek to
 15 recover a portion of the attorneys’ fees they incurred in connection with this action.
 16 As explained below, all of the relevant factors support an award to Defendants for
 17 defeating this frivolous action.
 18          First, Defendants achieved a complete victory—the Court granted their
 19 motions to dismiss Plaintiff’s claims with prejudice on two independent grounds.
 20 And they prevailed on these motions at the earliest possible juncture. See Section
 21 III.A.
 22          Second, Plaintiff’s claims were objectively unreasonable and entirely lacked
 23 any basis in fact or law both because Plaintiff’s work was not entitled to copyright
 24 protection and because his work was not substantially similar to Rings of Power.
 25 See Section III.B.
 26          Third, certain of Plaintiff’s litigation decisions demonstrate improper
 27 motivations. Plaintiff knew (or reasonably should have known) that his claims were
 28 frivolous. Defendants made this clear to Plaintiff both in letters at the outset of this
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  1 litigation and during the parties’ Local Rule 7-3 conference. Instead of heeding
  2 Defendants’ warnings, Plaintiff pressed ahead with an amended complaint filled
  3 with misleading and inaccurate statements, and with Plaintiff’s counsel using the
  4 lawsuit to promote her firm. See Section III.C.
  5         Fourth, a fee award is appropriate here because it would serve to deter
  6 potential plaintiffs (and Plaintiff himself) from infringing the creative works of
  7 others and then bringing meritless lawsuits against the owners or licensees of the
  8 infringed-upon creative works. See Section III.D.
  9         Finally, the amount of Defendants’ requested fees is reasonable in light of
 10 Defendants’ counsel’s background and experience, the market rates for similarly
 11 experienced attorneys, and the circumstances of this case. Moreover, Defendants
 12 seek only a portion of the fees incurred in litigating this matter. See Section IV.
 13                      II.     PROCEDURAL BACKGROUND
 14         On April 14, 2023, Plaintiff filed the initial complaint in this action, in which
 15 he claimed that Rings of Power copied from his “wholly original” novel, The
 16 Fellowship of the King. He attached to his complaint a list of the alleged
 17 “similarities” between the works (“Exhibit B”). These “similarities” included
 18 characters, locations, and other elements that were created by Tolkien, along with
 19 generic, high-level similarities (including that both works have characters riding
 20 horses and use the word “emperor”) and mischaracterizations of the works. From
 21 these “similarities” Plaintiff alleged four claims against Defendants: (1) direct
 22 copyright infringement; (2) contributory copyright infringement; (3) vicarious
 23 copyright infringement; and (4) unfair competition.
 24         On April 25, 2023, counsel for the Tolkien Defendants sent an email to
 25 Plaintiff’s counsel concerning the complaint. See Koonce Decl. ¶ 12; Ex. H. The
 26 email expressed surprise that Plaintiff had filed this action—the Tolkien Defendants
 27 had been attempting to arrange a call with Plaintiff about his own infringing
 28 conduct, but Plaintiff claimed he could not speak because he was “floridly
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  1 symptomatic with the flu.” Id. Ex. H. Despite this purported illness, he was
  2 nonetheless apparently able to speak with a lawyer and file this lawsuit. Id. The
  3 email then explained why Plaintiff’s complaint lacked merit, noting “it is well
  4 settled that unauthorized derivative works are not afforded any copyright protection,
  5 because they unlawfully infringe the exclusive rights of the original author.” Id.
  6 The email cited to Anderson v. Stallone, 1989 WL 206431 (C.D. Cal. Apr. 25,
  7 1989), a controlling case from this court, which held that the plaintiff’s spec script
  8 for a fourth Rocky movie that built on the characters and the plot from the previous
  9 three movies was not entitled to copyright protection. Id. The email requested that
 10 Plaintiff withdraw his complaint and made clear that, if he did not, the Tolkien
 11 Defendants would be moving to dismiss and seeking their attorneys’ fees under the
 12 Copyright Act. Id.
 13         Two days later, on April 27, 2023, counsel for the Amazon Defendants sent a
 14 letter to Plaintiff’s counsel, which reiterated the points made by the Tolkien
 15 Defendants. See Levine Decl. ¶ 2; Ex. 1. In addition to citing Anderson and other
 16 relevant case law, the Amazon Defendants’ letter explained that the purported
 17 “similarities” included in Exhibit B were either original to Tolkien—not Plaintiff—
 18 or were unprotectable scenes a faire, which could not form the basis of an
 19 infringement action. Id. The Amazon Defendants warned that if Plaintiff
 20 proceeded with the action, they would also move to dismiss the case and seek
 21 attorneys’ fees. Id.
 22         On May 1, 2023, Plaintiff’s counsel responded to both the Tolkien
 23 Defendants and Amazon Defendants, making the audacious assertion that Plaintiff
 24 merely took “unprotectable ideas” from Tolkien’s works and wrote his own
 25 “original story.” See Koonce Decl. ¶ 13 Ex. I; Levine Decl. ¶ 3; Ex. 2. Several
 26 weeks later, in an attempt to garner press for her law firm, Plaintiff’s counsel issued
 27 a press release that proclaimed: “Katie Charleston Law to Represent Author Suing
 28
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  1 Bezos, Tolkien Estate Over Lord of the Rings TV Series.”1
  2         Because Plaintiff’s counsel made clear that Plaintiff would not drop his
  3 lawsuit, Defendants prepared motions to dismiss the initial complaint. On June 23,
  4 2023, pursuant to Local Rule 7-3, Defendants’ counsel held a meet-and-confer with
  5 Plaintiff’s counsel prior to filing their motions to dismiss. See Levine Decl. ¶ 5.
  6 During this call, Defendants’ counsel again detailed the numerous deficiencies in
  7 Plaintiff’s complaint. Id. For example, when Plaintiff’s counsel stated that Rings of
  8 Power included “five characters” with the same names as characters in Plaintiff’s
  9 work, Defendants’ counsel explained that all of these names came from Tolkien and
 10 were not original to Plaintiff. Id. Defendants’ counsel also noted that the complaint
 11 was unclear about which defendants were liable for direct copyright infringement
 12 and which were liable for secondary infringement. Id. During the call, Plaintiff’s
 13 counsel indicated that Plaintiff might amend the complaint and that she would
 14 provide Plaintiff’s official position the following week. Id.
 15         On June 26, 2023, after counsel for the Tolkien Defendants followed up,
 16 Plaintiff’s counsel indicated that Plaintiff would, in fact, amend the complaint. Id.
 17 ¶ 6. Two days later, after the Amazon Defendants’ counsel asked when exactly
 18 Plaintiff would be filing the amended complaint, Plaintiff’s counsel indicated that
 19 the goal was to file by Monday, July 3, 2023, the day Defendants’ motions were
 20 due. Id. At the suggestion of counsel for the Amazon Defendants, the parties
 21 entered into a stipulation extending Defendants’ time to respond to the complaint.
 22 Id. ¶ 7; Dkt. 26.
 23         On July 13, 2023, Plaintiff’s counsel filed the first amended complaint (the
 24 “FAC”), which only further confused the issues. The FAC purported to assert
 25
 26         1
            https://www.marketwatch.com/press-release/katie-charleston-law-to-
    represent-author-suing-bezos-tolkien-estate-over-lord-of-the-rings-tv-series-2023-
 27 05-23; https://www.digitaljournal.com/pr/news/marketers-media/katie-charleston-
 28 law-to-represent-author-suing-bezos-tolkien-estate-over-lord-of-the-rings-tv-series,
    Digital Journal (May 23, 2023).
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  1 claims for direct copyright infringement and unfair competition against the Tolkien
  2 Defendants only, see FAC ¶¶ 40-54, 77-81, a claim for vicarious copyright
  3 infringement against the Amazon Defendants only, id. ¶¶ 68-76, and claims of
  4 contributory copyright infringement against all Defendants, id. ¶¶ 55-67. Yet, at
  5 times, Plaintiff appeared to allege that the Amazon Defendants were also liable for
  6 direct infringement. See, e.g., id. ¶ 56 (“Defendants directly infringed on Plaintiff’s
  7 copyrighted work.”). In addition, the FAC still attached the same improper Exhibit
  8 B, which reflected the same misstatements and mischaracterizations of the works.
  9 On July 18, 2023, the parties held another meet-and-confer, during which
 10 Defendants’ counsel yet again encouraged Plaintiff’s counsel to dismiss the case
 11 without further briefing. See Levine Decl. ¶ 8. Plaintiff’s counsel refused. Id.
 12         Later that day, Amazon’s counsel received from the Copyright Office a copy
 13 of the work that Plaintiff had registered. Id. ¶ 9. Upon a review of this work, they
 14 discovered that it contained notable differences from the published work that
 15 Plaintiff sued upon. Id. Importantly, many of the “similarities” listed in Exhibit B
 16 were not actually included in the registered work. Id. The following morning,
 17 Amazon’s counsel emailed Plaintiff’s counsel, explaining that a copyright plaintiff
 18 can only sue upon a registered work and, accordingly, the purported “similarities”
 19 that did not appear in the registered work could not support Plaintiff’s infringement
 20 action. Id. ¶ 9; Ex. 3. Plaintiff’s counsel did not respond to this email. Id.
 21         On July 27, 2023, Defendants filed their motions to dismiss the FAC. See
 22 Dkts. 35, 42. On August 7, 2023, Plaintiff filed his opposition briefs, falsely
 23 claiming, among other things, that he never represented that his work was a
 24 “sequel” to Lord of the Rings. See Dkt. 44 at 6; Dkt. 45 at 5. Plaintiff also wholly
 25 failed to address the Tolkien Defendants’ arguments concerning the unfair
 26 competition claim. See generally Dkt. 45.
 27         On August 14, 2023—before Defendants even filed their replies in further
 28 support of their motions—the Court granted Defendants’ motions to dismiss, and
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  1 closed the case. In its Order, the Court held that Plaintiff’s work was “an
  2 unauthorized derivative work that is not entitled to copyright protection” and thus
  3 each claim for copyright infringement “fail[ed] as a matter of law.” Order at 12.
  4 The Court also held that Plaintiff failed to plausibly plead (and, indeed, could not
  5 plead) that The Fellowship of the King and Rings of Power were substantially
  6 similar as a matter of law. Id. at 13. Finally, the Court dismissed the unfair
  7 competition claim against the Tolkien Defendants because it was “likely preempted
  8 by the [Digital Millennium Copyright Act]” and Plaintiff waived opposition by
  9 failing to address preemption in his responsive brief. Id. at 14.
 10            On August 25, 2023, the Court entered judgment for the Defendants. See
 11 Dkt. 50. This motion for attorneys’ fees follows.
 12     III.       DEFENDANTS ARE ENTITLED TO RECOVER THEIR FEES
 13                             UNDER THE COPYRIGHT ACT
 14            The Copyright Act grants courts broad discretion to award “full costs,”
 15 including a “reasonable attorney’s fee,” to prevailing parties in copyright
 16 infringement actions. 17 U.S.C. § 505. Notably, Section 505 requires treating
 17 prevailing defendants and prevailing plaintiffs alike. Fogerty v. Fantasy, 510 U.S.
 18 517, 534 & n.19 (1994) (“Fogerty I”); see also Inhale v. Starbuzz Tobacco, 755
 19 F.3d 1038, 1043 (9th Cir. 2014) (“A successful defense furthers the purposes of the
 20 Copyright Act just as much as a successful infringement suit does.”).
 21            In assessing whether to award a prevailing defendant’s attorneys’ fees, courts
 22 consider several factors, including “the degree of success obtained on the claim;
 23 frivolousness; motivation; objective reasonableness of factual and legal arguments;
 24 and need for compensation and deterrence.” Maljack Prods. v. GoodTimes Home
 25 Video, 81 F.3d 881, 889 (9th Cir. 1996). The U.S. Supreme Court reaffirmed these
 26 factors and held that courts must give substantial weight to the “objective
 27 reasonableness of the losing party’s position.” Kirtsaeng v. John Wiley & Sons, 579
 28
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  1 U.S. 197, 197-98 (2016). Here, these factors support awarding Defendants
  2 attorneys’ fees for defeating Plaintiff’s meritless copyright claims.
  3 A.      Defendants Achieved Complete Success in This Litigation
  4         In assessing whether to award fees, courts first weigh “the party’s degree of
  5 success in a lawsuit.” DuckHole v. NBCUniversal Media, 2013 WL 5797204, at *2
  6 (C.D. Cal. Oct. 25, 2013). “This factor weighs more in favor of a party who
  7 prevailed on the merits, rather than on a technical defense.” Id.
  8         Here, Defendants succeeded in defeating Plaintiff’s FAC in its entirety and
  9 on the merits at the earliest possible juncture—i.e. before Defendants filed their
 10 reply briefs and before oral argument on the motions. The Court fully adopted both
 11 of the arguments in Defendants’ motions, each of which was independently
 12 dispositive. Order at 12-13. It is hard to imagine a more resounding victory for
 13 Defendants. Because there can be no dispute that Defendants achieved complete
 14 success, this factor weighs strongly in favor of awarding Defendants their fees.
 15 B.      Plaintiff’s Claims Were Objectively Unreasonable
 16         In assessing fee awards under Section 505, courts next look to whether a
 17 plaintiff’s claims were “objectively unreasonable.” Shame on You Prods. v. Banks,
 18 2016 WL 5929245, at *6 (C.D. Cal. Aug. 15, 2016), aff’d, 893 F.3d 661 (9th Cir.
 19 2018). This factor must be given “substantial weight.” Kirtsaeng, 579 U.S at 198-
 20 99. Notably, courts routinely hold that copyright claims are objectively
 21 unreasonable where they find no substantial similarity as a matter of law. See, e.g.,
 22 DuckHole, 2013 WL 5797204, at *2 (awarding fees where court dismissed
 23 copyright claim for lack of substantial similarity); Williams v. Crichton, 891 F.
 24 Supp. 120, 122 (S.D.N.Y. 1994) (awarding fees after finding the plaintiff’s
 25 copyright claims were based on “highly selective, scattered” similarities which all
 26 flowed from an unprotectable concept).
 27         In this case, Plaintiff’s claims were not merely “objectively unreasonable,”
 28 they were entirely and obviously frivolous. See Fantasy v. Fogerty, 94 F.3d 553,
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  1 560 (9th Cir. 1996) (“Fogerty II”) (noting that courts assess whether claims were
  2 “frivolous,” although such a finding is “no longer required” to award attorneys’ fees
  3 under the Copyright Act). To recap Plaintiff’s ludicrous copyright claims: Plaintiff
  4 wrote an unauthorized sequel to The Lord of the Rings, taking an extensive amount
  5 of Tolkien’s creative expression. Plaintiff called his book The Fellowship of the
  6 King, changing one letter from the title of the first book in Tolkien’s trilogy, The
  7 Fellowship of the Ring. Plaintiff wrote to Simon Tolkien—the grandson of J.R.R.
  8 Tolkien—asking him to bless the sequel, even showing up to Simon Tolkien’s
  9 home on Christmas Eve with his manuscript. When Simon Tolkien refused to
 10 collaborate with Plaintiff, Plaintiff published the book anyway, and when his
 11 unauthorized sequel was challenged by the Tolkien Estate Limited and the Tolkien
 12 Trust, he threatened them with a lawsuit and then rushed to sue Defendants based
 13 on Rings of Power, an authorized derivative work of The Lord of the Rings that is
 14 nothing like Plaintiff’s work. In support, he relied on generalized “similarities”
 15 between the works, such as the fact that both works included wizards with staffs.
 16 This Court rejected Plaintiff’s contentions in their entirety, holding that his work
 17 was not entitled to copyright protection and was not substantially similar to Rings of
 18 Power as a matter of law. Order at 13-14.
 19         Because Plaintiff’s copyright claims were objectively unreasonable, this
 20 factor weighs strongly in favor of granting Defendants’ fee request.
 21 C.      Certain of Plaintiff’s Litigation Decisions Lacked a Proper Motive
 22         In assessing a fee award, courts may also consider a plaintiff’s “motivation”
 23 in pursuing a lawsuit. Fogerty II, 94 F.3d at 558. Improper motivation can be
 24 inferred from evidence that a party engaged in “overly aggressive litigation tactics,”
 25 or pursued the lawsuit regardless of the merits of the claims. See Bridgeport Music
 26 v. WB Music, 520 F.3d 588, 593 (6th Cir. 2008) (approving fee award against
 27 plaintiff based in part on plaintiff’s aggressive tactics and pursuit of futile claims).
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  1         Here, Plaintiff’s decision to file this lawsuit in itself evidences his improper
  2 motivation. Despite telling Simon Tolkien in a letter on December 24, 2019 that he
  3 had written a “sequel to The Lord of the Rings,” he did not publish this sequel until
  4 September 22, 2022—just after Rings of Power premiered. FAC ¶ 20. When the
  5 Tolkien Defendants learned that Plaintiff was marketing and selling his work to the
  6 public, they attempted to contact him to get him to cease his infringing conduct.
  7 Plaintiff rebuffed the Tolkien Defendants’ efforts to confer, see Koonce Decl. ¶¶ 5-
  8 9; Exs. D-G, and instead filed this lawsuit.
  9         After the lawsuit was filed, Defendants warned Plaintiff that it was frivolous
 10 and offered him numerous opportunities to dismiss it, which he and his counsel
 11 continually refused to do. Before Plaintiff even served the complaint, Defendants’
 12 counsel sent letters to Plaintiff’s counsel, citing to Anderson v. Stallone—the very
 13 case that this Court ultimately relied upon to dismiss this action—and explaining
 14 that Anderson precluded Plaintiff’s action. Id. Ex. H; Levine Decl. Ex. 1.
 15 Plaintiff’s counsel merely stated that she was “familiar” with Anderson and “the
 16 facts and the required legal analysis are quite distinct” because Plaintiff only took
 17 “ideas” from Tolkien’s works and created “an original story.” Koonce Decl. Ex. I;
 18 Levine Decl. Ex. 2. Shortly thereafter, Plaintiff’s counsel issued a press release
 19 highlighting her representation of Plaintiff in this lawsuit, which she described as “a
 20 $250 million copyright infringement lawsuit” against “Bezos” and the “Tolkien
 21 Estate,” clearly all designed to garner attention for her law firm.
 22         The parties also held two meet and confers during which Defendants’ counsel
 23 explained why the case was meritless, neither of which convinced Plaintiff or his
 24 counsel to drop their case. See Levine Decl. ¶¶ 5, 8. The Amazon Defendants’
 25 counsel also notified Plaintiff’s counsel that the registered version of Plaintiff’s
 26 work did not contain many of the similarities listed in Exhibit B, including one of
 27 the alleged similarities (the cover of Plaintiff’s book) that Plaintiff’s counsel
 28
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  1 specifically referenced during the meet and confers. Id. ¶ 9. Plaintiff’s counsel
  2 never responded to that email. Id.
  3         After Defendants filed their motions to dismiss, Plaintiff filed his opposition
  4 briefs, in which he falsely declared that he never represented that his work was a
  5 “sequel” to The Lord of the Rings. See Dkt. 44 at 6; Dkt. 45 at 5. He claimed,
  6 instead, that his work was merely “inspired” by The Lord of the Rings, no different
  7 than Star Wars or Games of Thrones. See Dkt. 44 at 2; Dkt. 45 at 2. In fact,
  8 Plaintiff repeatedly referred to his work as a “sequel,” including in a video on his
  9 own YouTube page sub-titled, “War Of The Rings: Writing the Sequel to The Lord
 10 of the Rings,” in which he described The Fellowship of the King as the “first book
 11 in the seven-book sequel to The Lord of the Rings.”2 Plaintiff only changed his
 12 position once he learned it would be detrimental to his litigation.
 13         Because Plaintiff aggressively pursued a meritless case that lacked any basis
 14 in fact or law, this factor favors awarding Defendants their fees.
 15 D.      A Fee Award Is Appropriate to Advance the Copyright Act’s Goals of
 16         Compensation and Deterring Meritless Litigation
 17         Finally, awarding fees to a prevailing copyright defendant is proper where it
 18 serves “to advance considerations of compensation and deterrence.” Fogerty I, 510
 19 U.S. at 534 n.19 (internal quotation marks omitted). “Compensation and deterrence
 20 would support an award of attorneys’ fees . . . in order to ‘deter this plaintiff, and
 21 other similarly situated plaintiffs, from bringing unreasonable claims based on a
 22 cost-benefit analysis that tells such plaintiffs that they can score big if they win and
 23 there will be no adverse consequences if they lose.’” Lawrence v. Sony Pictures
 24 Entm’t, 2011 WL 13217267, at *2 (C.D. Cal. Oct. 5, 2011) (quoting Baker v. Urban
 25 Outfitters, 431 F. Supp. 2d 351, 359 (S.D.N.Y. 2006)), aff’d, 534 F. App’x 651 (9th
 26 Cir. 2013).
 27
 28         2
                https://www.youtube.com/watch?v=jdBxqMPbMho&t=393s.
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  1         In Shame on You Productions, for example, the court awarded defendants
  2 $315,669.75 in attorneys’ fees after holding that the works were not substantially
  3 similar and finding that a fee award would “reward artists and others who defend
  4 against meritless claims, and will encourage artists to continue producing original
  5 works without fear of having to defend against baseless claims.” 2016 WL
  6 5929245, at *11, 19; see also Bernal v. Paradigm Talent & Literary Agency, 2010
  7 WL 6397561, at *3 (C.D. Cal. June 1, 2010) (Wilson, J.) (granting motion for
  8 attorneys’ fees because the award “serves purposes of deterrence, in that it helps to
  9 prevent the filing of similarly meritless copyright actions by would-be plaintiffs”).
 10         These principles are particularly important in a case like this, where Plaintiff
 11 attempted to punish Defendants for creating an authorized derivative work of The
 12 Lord of the Rings by relying on alleged similarities that consisted of elements that
 13 Plaintiff stole from Tolkien. Moreover, Plaintiff has already indicated his intention
 14 to publish six additional books in his series. See, e.g., FAC ¶ 20 (referring to The
 15 Fellowship of the King as the first in a “seven book series”).3 Awarding attorneys’
 16 fees to Defendants will thus help to ensure that Plaintiff does not continue to file
 17 copyright infringement lawsuits against Defendants based on his later books and
 18 later seasons of Rings of Power.
 19                                       *     *      *
 20         In sum, all of the relevant factors to determining whether Defendants are
 21 entitled to recover fees under 17 U.S.C. § 505 weigh in favor of a fee award.
 22        IV.     DEFENDANTS’ REQUESTED FEES ARE REASONABLE
 23         In determining a reasonable fee award under Section 505, the Court “must
 24 first determine the presumptive lodestar figure by multiplying the number of hours
 25 reasonably expended on the litigation by the reasonable hourly rate.” Intel Corp. v.
 26
            3
 27          See also https://www.fractalbooks.com/product/the-war-of-the-rings-book-
    two-the-two-trees/ (last visited Sept. 7, 2023) (describing the second book in
 28 Plaintiff’s series, The Two Trees, which copies the title of the second book in
    Tolkien’s trilogy, The Two Towers).
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  1 Terabyte Int’l, 6 F.3d 614, 622 (9th Cir. 1993). “The lodestar amount presumably
  2 reflects the novelty and complexity of the issues, the special skill and experience of
  3 counsel, the quality of representation, and the results obtained from the litigation.”
  4 Id. Applying these criteria, Defendants’ requested fees are entirely reasonable.
  5 A.      Defendants’ Counsel’s Billing Rates Are Reasonable
  6         A reasonable hourly rate is one that is “in line with those prevailing in the
  7 community for similar services by lawyers of reasonably comparable skill,
  8 experience and reputation.” Sorenson v. Mink, 239 F.3d 1140, 1145 (9th Cir. 2001)
  9 (internal quotes omitted). The “best evidence” of an attorney’s reasonable hourly
 10 rate is the “rate customarily charged” by that attorney. Elser v. I.A.M. Nat’l
 11 Pension Fund, 579 F. Supp. 1375, 1379 (C.D. Cal. 1984) (internal quotes omitted).
 12 Indeed, “[u]nless counsel is working outside his or her normal area of practice, the
 13 billing-rate multiplier is, for practical reasons, usually counsel’s normal billing
 14 rate.” Moore v. Jas. H. Matthews & Co., 682 F.2d 830, 840 (9th Cir. 1982).
 15         Based on their skill, experience, and reputation, the hourly rates charged for
 16 the Amazon Defendants’ attorneys are highly reasonable:
 17               Nicolas Jampol is a media & entertainment partner in the Los Angeles
 18 office of Davis Wright Tremaine LLP (“DWT”), which is a nationally recognized
 19 firm for intellectual property litigation. See City of Inglewood v. Teixeira, 2015 WL
 20 6146269, at *5 (C.D. Cal. Oct. 8, 2015) (“Davis Wright Tremaine LLP (‘DWT’) is
 21 a nationally recognized firm in the areas of First Amendment and intellectual
 22 property litigation.”); Lawrence, 2011 WL 13217267, at *4 (recognizing that DWT
 23 “is reputable and active in litigating copyright cases in this district”). Mr. Jampol
 24 graduated cum laude from the University of Michigan Law School in 2006, and
 25 litigates primarily content-related claims, with a particular emphasis on copyright
 26 claims. Levine Decl. ¶ 12. He is a member of the firm’s executive committee. Id.
 27 DWT charged a discounted rate of $650 per hour for Mr. Jampol’s time on this
 28 case. Id. ¶ 11.
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  1               Amanda Levine is a media & entertainment associate in the New
  2 York office of DWT. She graduated cum laude from Harvard Law School in 2016
  3 and routinely litigates and counsels clients on intellectual property, defamation, and
  4 other media matters. Id. ¶ 13. Just this year, Ms. Levine was recognized as “One to
  5 Watch” in the area of intellectual property law by the publication, Best Lawyers. Id.
  6 DWT charged a discounted rate of $550 per hour for Ms. Levine’s time on this
  7 case. Id. ¶ 11.
  8               Samuel Turner is a media & entertainment associate in the Los
  9 Angeles office of DWT. He graduated from the College of Law at Arizona State
 10 University in 2020 and served as a judicial law clerk in the United States District
 11 Courts of the Northern and Central Districts of California. Id. ¶ 14. He litigates and
 12 counsels clients on intellectual property, First Amendment, and other media
 13 matters. Id. DWT charged a rate of $550 per hour for Mr. Turner’s time on this
 14 case. Id. ¶ 11.
 15         The hourly rated charged for the Tolkien Defendants’ attorneys are also
 16 highly reasonable based on their skill, experience, and reputation:
 17               Lance Koonce is a partner at Klaris Law PLLC, which is well-known
 18 for its intellectual property, media law, and First Amendment practices, and has
 19 been recognized by Chambers and Partners for its media law practice. Koonce
 20 Decl. ¶ 19. Mr. Koonce is an intellectual property litigator with over 25 years of
 21 experience in federal and state courts, and has a particular expertise in litigating
 22 copyright cases. Id. He graduated with honors from the University of North
 23 Carolina-Chapel Hill School of Law. Id. Mr. Koonce was previously a partner at
 24 DWT. See id. ¶ 23, Ex. J. Klaris Law charged a rate of $550 per hour for
 25 Mr. Koonce’s time. Id. ¶ 28.
 26               Gili Karev is an associate with Klaris Law PLLC, specializing in
 27 litigation and intellectual property matters. Id. ¶ 21. She graduated summa cum
 28 laude with a double bachelor’s degree in English Literature and Chinese from Tel
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  1 Aviv University; has a law degree from City University of London Law School; and
  2 a J.D./LL.M from Columbia Law School as a Harlan Fiske Stone Scholar, where
  3 she was also the recipient of the Michael D. Remer Award for copyright law. Id.
  4 She is currently an active member of the New York City Bar Association Copyright
  5 and Literary Property Committee and the Copyright Society. Id. Klaris Law
  6 charged a rate of $450 per hour for Ms. Karev’s time.
  7               Steven Maier is a partner at Maier Blackburn LLP in Oxford, United
  8 Kingdom, which he co-founded in 2012. Id. ¶ 22. Mr. Maier read law at St Peter’s
  9 College, Oxford and qualified as a solicitor with Simmons & Simmons in 1986. Id.
 10 After periods with Simon Olswang & Co and publisher Reed International, he
 11 joined Manches in 1992 where he headed the firm’s IP Litigation group. Id.
 12 He specializes in both intellectual property and commercial litigation, with
 13 particular expertise in publishing and media law, including copyright and trade
 14 mark infringement, libel and privacy, confidential information and internet domain
 15 name cases. Id. Maier Blackburn charged a rate of £480 per hour for Mr. Maier’s
 16 time. Id. Ex. K, ¶ 6.
 17         Given the skills and reputations of Defendants’ counsel, as well as the pre-
 18 negotiated discounts, their rates in this matter are entirely reasonable.
 19         The reasonableness of Defendants’ counsel’s rates is further evidenced by the
 20 fact that other courts have found their rates to be reasonable in other copyright
 21 lawsuits in Southern California. For example, in Washington v. ViacomCBS, 2021
 22 WL 6134375, at *4 (C.D. Cal. Dec. 9, 2021), the Court found that effective hourly
 23 rates of $850 for a partner, $633 for a senior associate, and $490 for a junior
 24 associate were reasonable in a copyright infringement action dismissed on a motion
 25 to dismiss. See also Jiang v. KNTV Tel. LLC, 2021 WL 4710717, at *5 (N.D. Cal.
 26 Oct. 8, 2021) (finding rates of $744 per hour for a DWT partner, $512 per hour for
 27 an associate, and $336 per hour for a paralegal to be reasonable); vacated on other
 28 grounds, Jiang v. NBCUniversal Media, LLC, 2023 WL 2585655 (9th Cir. Mar. 17,
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  1 2023). Based on these authorities, Defendants’ counsel’s rates for this matter are
  2 reasonable.
  3 B.      The Hours Expended By Defendants’ Counsel Are Reasonable.
  4         A fee award “should ordinarily include compensation for all hours reasonably
  5 spent, including those relating solely to the fee.” Serrano v. Unruh, 32 Cal. 3d 621,
  6 624 (1982). Defendants’ request is reasonable for several reasons.
  7         First, Defendants’ motions to dismiss were entirely successful, and resulted
  8 in an early dismissal of Plaintiff’s FAC with prejudice. The U.S. Supreme Court
  9 has explained that where a prevailing party “has obtained excellent results, [their]
 10 attorney should recover a fully compensatory fee. Normally, this will encompass
 11 all hours reasonably expended on the litigation.” Hensley v. Eckerhart, 461 U.S.
 12 424, 435 (1983). This is particularly significant because Plaintiff was not merely
 13 seeking damages, but also wide-ranging injunctive relief and attorneys’ fees. FAC
 14 at 13-14 (prayer for relief).
 15         Second, Defendants are not seeking fees for all their time spent defeating
 16 Plaintiff’s claims. They do not seek fees for the time incurred by attorneys and
 17 paralegals who have assisted with the matter, nor for the significant time spent on
 18 this matter by in-house counsel at Amazon, notwithstanding that those fees are
 19 recoverable. Levine Decl. ¶ 18; see PCLM Grp. v. Drexler, 22 Cal. 4th 1084, 1094
 20 (2000) (affirming fee award for work performed by in-house counsel, finding “no
 21 basis for discriminating” between in-house counsel and outside attorneys on a
 22 particular matter). Defendants also are not seeking attorneys’ fees in connection
 23 with this motion, which are also recoverable. See Marcus v. ABC Signature
 24 Studios, Inc., 2017 WL 5592470, at *6 (C.D. Cal. Nov. 20, 2017) (granting over
 25 $20,000 of “fees upon fees” under 17 U.S.C. § 505 for preparation of motion for
 26 attorneys’ fees).
 27         Third, Defendants’ attorneys managed this case efficiently, and the hours
 28 were reasonable in light of the complexity of the issues and the nature of the case.
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  1 Defendants’ motions to dismiss required counsel to demonstrate to the Court that
  2 the two works were not substantially similar as to their plots, characters, settings,
  3 and the other elements of the Ninth Circuit’s “extrinsic test” for substantial
  4 similarity. This, in turn, required careful review and analysis by Defendants’
  5 counsel of both Rings of Power (an eight-episode series) and The Fellowship of the
  6 King (an over 300-page novel) as well as research about The Lord of the Rings,
  7 which was the source for many of the purported similarities between the works. In
  8 addition, once Defendants learned that Plaintiff’s published work differed from his
  9 registered work—a point that was not disclosed by Plaintiff’s counsel but was only
 10 learned after Defendants requested a copy of the registered work from the
 11 Copyright Office—Defendants were forced to review the registered work to
 12 determine whether the similarities listed in Exhibit B were also found in it. As
 13 explained above, many of them were not. Further, because Plaintiff did not make
 14 clear his intention to amend his complaint until one week before Defendants’
 15 response deadline, Defendants had largely prepared the motions that they intended
 16 to file, which then had to be revised when Plaintiff filed the FAC. Defendants also
 17 fully prepared reply briefs in further support of their motions to dismiss, which they
 18 intended to file on the date that the Court dismissed this action.
 19         Fourth, as noted above, the amount requested is within the range of fees
 20 awarded to prevailing defendants in other comparable copyright actions. See, e.g.,
 21 Shame on You, 2016 WL 5929245, at *19 (awarding $315,669.75 in attorneys’ fees
 22 for defendants’ successful motion for judgment on the pleadings); Wild v. NBC
 23 Universal, 2011 WL 12877031, at *4 (C.D. Cal. July 18, 2011) (awarding
 24 $113,041.85 in attorneys’ fees and costs for defendants’ successful motion to
 25 dismiss copyright action).
 26                                V.      CONCLUSION
 27         The Court found that Plaintiff’s claims for copyright infringement failed in
 28 their entirety, on the merits, for two independent reasons. For the reasons explained
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  1 above, Defendants are now entitled to recover from Plaintiff the fees they
  2 reasonably incurred in their successful defense. Accordingly, the Court should
  3 grant this Motion and award the Amazon Defendants their attorneys’ fees of
  4 $74,150 and the Tolkien Defendants their attorneys’ fees of $78,865.
  5
  6 DATED: September 8, 2023                      Respectfully submitted,
  7                                               DAVIS WRIGHT TREMAINE LLP
                                                  NICOLAS A. JAMPOL
  8                                               AMANDA LEVINE
                                                  SAMUEL A. TURNER
  9
                                                  By:   /s/ Nicolas A. Jampol
 10                                                         Nicolas A. Jampol
 11                                                  Attorneys for the Amazon
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 12
                                                  KLARIS LAW
 13                                               LACY H. KOONCE, III
                                                  GILI KAREV
 14
                                                  By:   /s/ Lacy H. Koonce, III
 15                                                        Lacy H. Koonce, III
 16                                                  Attorneys for the
                                                     Tolkien Defendants
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